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                    UNITED STATES COURT OF APPEALS                         FILED
                           FOR THE NINTH CIRCUIT                           MAR 17 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
KLAMATH-SISKIYOU WILDLANDS                      No.   21-35980
CENTER; et al.,
                                                D.C. No. 1:19-cv-02069-CL
                Plaintiffs-Appellees,           District of Oregon,
                                                Medford
 v.
                                                ORDER
BUREAU OF LAND MANAGEMENT,

                Defendant-Appellant,

and

MURPHY COMPANY,

                Intervenor-Defendant.

      Appellant’s motion to dismiss this appeal (Docket Entry No. 9) is granted.

Fed. R. App. P. 42(b). The parties shall bear their own costs on appeal.

      A copy of this order shall serve as and for the mandate of this court.

                                             FOR THE COURT:

                                             By: Stephen M. Liacouras
                                             Chief Circuit Mediator
